






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00791-CV








Guadalupe Association for an Improved Neighborhood, in its representational

capacity for its members, Ben M. Sifuentes, Mark Rogers, Helen S.

Lopez, Mary Helen Lopez, Letesia Cantu-McGarrahan,

Edward E. McGarrahan, Cristina De La

Fuente-Valadez and Juan

R. Valadez, Appellant


v.



City of Austin, Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT


NO. GN102692, HONORABLE PATRICK O. KEEL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N




	Appellant has informed this Court that the notice of appeal in this case was filed from
an interlocutory, rather than final judgment and that further proceedings have occurred in the trial
court to create a final judgment.  See Tex. R. App. P. 27 (premature appeals).  Appellant has
informed us that a clerk's record reflecting these further proceedings needs to be filed after the final
judgment is signed.  See Tex. R. App. P. 27.3 (appealed order modified).  Accordingly, we abate the
appeal.  It will be reinstated automatically upon receipt of the supplemental clerk's record containing
the final judgment.  A status report, however, should be filed by February 25, 2005, if the
supplemental record has not yet been prepared.  Because this appeal is being abated, appellant's
letter will be deemed the response to the notice of overdue brief sent January 19, 2005.



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear


Filed:   January 27, 2005


